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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )    CRIM. CASE NO. 2:21-cr-364-ECM
                                             )
RANDALL EVERETTE TENNYSON                    )

                      MEMORANDUM OPINION and ORDER

       Now pending before the Court is Defendant Randall Everette Tennyson’s

unopposed motion to continue trial (doc. 20) filed on March 8, 2022. Jury selection and

trial are presently set on the term of court commencing on April 4, 2022. For the reasons

set forth below, the Court will grant a continuance of the trial pursuant to 18 U.S.C.

§ 3161(h)(7).

       While the trial judge enjoys great discretion when determining whether to grant a

continuance, the Court is limited by the requirements of the Speedy Trial Act. 18 U.S.C.

§ 3161; United States v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986). The Act provides

in part:

       In any case in which a plea of not guilty is entered, the trial of a defendant
       charged in an information or indictment with the commission of an offense
       shall commence within seventy days from the filing date (and making public)
       of the information or indictment, or from the date the defendant has appeared
       before a judicial officer of the court in which such charge is pending,
       whichever date last occurs.

18 U.S.C. § 3161(c)(1).

       The Act excludes, however, certain delays from the seventy-day period, including

delays based on “findings that the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.
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§ 3161(h)(7)(A). In determining whether to grant a continuance under § 3161(h)(7), the

court “shall consider,” among other factors, whether denial of a continuance would likely

“result in a miscarriage of justice,” or “would deny counsel for the defendant . . . the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” Id. § 3161(h)(7)(B)(i), (iv).

       Counsel was appointed to represent the Defendant in this case on February 9, 2022.

(Doc. 16). Counsel for the Defendant represents that counsel needs additional time to

analyze this case and consult with the Defendant. Specifically, since being appointed to

represent the Defendant in this case, counsel has been preparing for two capital murder

trials and other trials in state courts. The United States does not oppose a continuance.

After careful consideration, the Court finds that the ends of justice served by granting a

continuance of this trial outweigh the best interest of the public and the Defendant in a

speedy trial. Thus, for good cause, it is

       ORDERED that the motion to continue (doc. 20) is GRANTED, and jury selection

and trial are CONTINUED from April 4, 2022 to the criminal term of court set to

commence on August 29, 2022 at 10:00 a.m. in Montgomery, Alabama. All deadlines tied

to the trial date are adjusted accordingly.

       The United States Magistrate Judge shall conduct a pretrial conference prior to the

August trial term.

       Done this 8th day of March, 2022.


                                            /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE
